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UNITED STATES DISTRICT COURT
for the RICE ao 1 van
Southern District of Ohio ir "

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In the Matter of the Search of Yorn gg
(Briefly describe the property to be searched
or identify the person by name and address) Case No.
Priority Mail parcel label number 95055143044 19213324779, postmarked
August |, 2019, weighing 7 pounds 12.2 ounces, addressed to B. Chaplin,

5215 Mallet Club Dr, Dayton, OH 45439 with a return address of

Urban Kingdom, 6359 NE Martin Luther King Jr Blvd, Portland, OR 97211

eh

MICHAEL J. NEWMAN

APPLICATION FOR A SEARCH WARRAN

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under

penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

Priority Mail Parcel Label Number 9505514304419213324779

located in the Southern District of Ohio , there is now concealed (identify the

person or describe the pr oper ty to be seized):
Controlled Substances, materials and documents reflecting the distribution of controlled substances through

the U.S. Mails, including money and/or monetary instruments paid for controlled substances

The basis for the search under Fed. R. Crim. P. 41(c) ts (check one or more):
[X] evidence of a crime;
b<] contraband, fruits of crime, or other items illegally possessed;
[_] property designed for use, intended for use, or used in committing a crime;

[_] a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of: Title 21

Code Section Offense Description
841 (a) (1), 843 (b) & 846 Possession with intent to distribute a controlled substance
Conspiracy to distribute a controlled substance
Use of a communication facility to commit a felony

The application is based on these facts:

See attached affidavit of U.S. Postal Inspector Dorman

><] Continued on the attached sheet.

[_] Delayed notice days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 
 
    

Brad M. Dormia, U- af Postat isto
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Sworn to before me and signed in my presence.

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Honorable Michael a Newman
United States Magistrate Judge
Printed name and title

City and state: Dayton, Ohio
Case: 3:19-mj-00435-MJN Doc #: 1 Filed: 08/05/19 Page: 2 of 5 PAGEID #: 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
DAYTON, OHIO

STATE OF OHIO )
) $s
COUNTY OF MONTGOMERY )

AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

|, BRAD M. DORMAN, HAVING BEEN DULY SWORN, DEPOSE AND STATE: | am a United States
Postal Inspector and have been since August 2017. | am presently assigned to the Cincinnati Field Office
of the United States Postal Inspection Service, Pittsburgh Division, with investigative responsibility for
southeast Indiana and southern Ohio. Part of my responsibility involves investigating the use of the United
States Mail in the transportation of narcotics, other dangerous controlled substances, and financial
proceeds from, or instrumentalities used in, the sale of such narcotics and controlled substances

(hereinafter, “Drugs and/or Proceeds’).

Based on my training and experience as a United States Postal Inspector, | have become aware that drug
traffickers frequently use United States Priority Mail Express (overnight) or Priority Mail (2-3-day) to
transport Drugs and/or Proceeds. Additionally, as a result of prior investigations and successful
controlled-substance prosecutions involving the use of the United States Mail, | have learned of certain
characteristics and/or circumstances indicating that a package may contain Drugs and/or Proceeds.
These circumstances and/or characteristics include, but are not necessarily limited to, the following: the
mailer uses different post offices on the same day to send packages, the return address is false or non-
existent, the addressee is not known to receive mail at the listed delivery address, the package is heavily
taped, the package is mailed from a known drug source location, the labeling information contains
misspellings, the label contains an illegible waiver signature, unusual odors are emanating from the

package, and the listed address is located in an area of known or suspected drug activity.
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On August 5, 2019, U.S. Postal Inspectors intercepted a package (hereinafter, the “Package”) at the West
Carrollton Post Office in West Carrollton, OH. The Package is a brown box, bearing tracking number
9505514304419213324779, weighing 7 pounds 12.2 ounces, postmarked August 1, 2019, with the

following address information:

Sender: Urban Kingdom
6359 NE Martin Luther King Jr Blvd
Portland, OR 97211
Addressee: B. Chaplin
5215 Mallet Club Dr
Dayton, OH 45439

Through training and experience, | am aware that the State of Oregon area is a known drug source

location.

| did a check in CLEAR of the addressee’s information on the Package of B. Chaplin, 5215 Mallet Club Dr,
Dayton, OH 45439, CLEAR is a law enforcement database that is used as a tool for investigators to
identify person/business and address information. According to CLEAR, there is no “B. Chaplin”

associated with 5215 Mallet Club Dr, Dayton, OH 45439.

| also did a check in CLEAR of the sender's information on the Package of Urban Kingdom, 6359 NE
Martin Luther King Jr Blvd, Portland, OR 97211. According to CLEAR, “Urban Kingdom” is associated
with 20700 San Jose Hills Rd, Walnut, CA 91789. Further investigation revealed that “Urban Kingdom’ is

a clothing store.

Later on August 5, 2019, at my request, Detective Anthony Hutson of the Montgomery County Sheriff's
Office conducted a narcotics-detection canine check of the Package. | was present for the check. The
Package was placed in a controlled area and presented to narcotics-detection canine, “Gunner.” As set
forth in the attached affidavit of Detective Hutson, “Gunner” alerted positively to the presence or odor of a

narcotic or other controlled substance.
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Based on my training and experience as a United States Postal Inspector, the Package’s address
information, the absence of a known association between the recipient and the recipient’s address, the
Package being sent from a known drug source location, and the positive alert of the narcotics-detection

canine are indicative of Drugs and/or Proceeds in the Package.
Therefore, a search warrant to open the Package is requested.

Further, your affiant sayeth ngught.

TA
Brad i crssie

U.S. Postal Inspector

  

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Honorable Michael J. Newey) A
United States Magistrate Judge /
Case: 3:19-mj-00435-MJN Doc #: 1 Filed: 08/05/19 Page: 5 of 5 PAGEID #: 5

UNITED STATES POSTAL INSPECTION SERVICE

 

PITTSBURGH DIVISION

 

OFFICER AFFIDAVIT

|, Officer/Deputy h* Mer” het sor , am and have been employed by the
MorrponelY co SO. since G48 __. Among other duties, | am currently
the assigned handler of narcotics detection canine “Gu~“eX— _“ which is trained and

certified in the detection of the presence or odor of narcotics described as follows:

Marijuana, Cocaine, Methamphetamine, and Heroin
On eS 1A , at the request of Postal Inspector p27 Wr _ | responded to the
USES LB <e A-yp1.0¥_, where “ uw MO did alert to and indicate upon: [describe item]
Pte VEO ROY FEUARAVI DD AA sed we & Chedlin,
L206 Actter Cle AS, DoAy ow UWYILY ws ferme eres)
OF Urheg Fyn, E359 ME A sin Lopes Bx, Vr Asus
PoltA, OR F274)

Which, based upon my training and experience and that of “/ sul « indicates there is

 

contained within or upon the above described item, the presence or odor of a narcotic or

other controlled substance.

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(Signature, Bag qo # and Date)

DAL sha

(Witness/Datey

Cincinnati Field Office

895 Central Avenue STE 400
Cincinnati, OH 45202-5748
Telephone: 877-876-2455
FAX: 513-684-8009
